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Exhibit 1
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AO 88A (Rev, 12/20) Subpoena to Testify at a Deposition in a Civil Action

UNITED STATES DISTRICT COURT

 

 

for the
District of Maryland [=]
David J. Boshea )
Plaintiff )
v. ) Civil Action No. 1:21-CV-00309-ELH
Compass Marketing, Inc.
Defendant )

SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

To: Daniel J. White

 

(Name of person to whom this subpoena is directed)

of Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must promptly confer in good faith with the
party serving this subpoena about the following matters, or those set forth in an attachment, and you must designate one
or more officers, directors, or managing agents, or designate other persons who consent to testify on your behalf about
these matters: See attached Notice of Deposition

 

| Place: Kagan Stern Marinello & Beard, LLC Date and Time:
238 West Street Tuesday, August 24, 2021 at 9:30 am.
|___ Annapolis, MD.21401

 

The deposition will be recorded by this method: _Stenographically and video recording

 

 

 

a Production: You, or your representatives, must also bring with you to the deposition the following documents,
electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
material:

see attached Schedule A

 

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: July 28, 2021
CLERK OF COURT

OR

  

- Signature of Clerk or Deputy Clerk Attorney 's signature

 

The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Compass Marketing, Inc.

 

, who issues or requests this subpoena, are:

 

Stephen B. Stern, Esq. 238 West Street, Annapolis, MD 21401; stern@kaganstern.com; 410-216-7900

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
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Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c) Place of Compliance.

(1) For a Trial, Hearing, or Deposition. A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business in person; or
(B) within the state where the person resides, is employed, or regularly
transacts business in person, if the person
(i) is a party or a party’s officer; or
(ii) is commanded to attend a trial and would not incur substantial
expense.

(2) For Other Discovery. A subpoena may command:

(A) production of documents, electronically stored information, or
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and

(B) inspection of premises at the premises to be inspected.

(d) Protecting a Person Subject to a Subpoena; Enforcement.

(1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena. The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction—which may include
lost earnings and reasonable attorney's fees—on a party or attorney who
fails to comply.

(2) Command to Produce Materials or Permit Inspection.

(A) Appearance Not Required. A person commanded to produce
documents, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection unless also commanded to appear for a deposition,
hearing, or trial.

(B) Objections. A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,
the following rules apply:

(i) At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection.

(ii) These acts may be required only as directed in the order, and the
order must protect a person who is neither a party nor a party’s officer from
significant expense resulting from compliance.

(3) Quashing or Modifying a Subpoena.

(A) When Required. On timely motion, the court for the district where
compliance is required must quash or modify a subpoena that:

(i) fails to allow a reasonable time to comply;

(ii) requires a person to comply beyond the geographical limits
specified in Rule 45(c);

(iii) requires disclosure of privileged or other protected matter, if no
exception or waiver applies; or

(iv) subjects a person to undue burden.

(B) When Permitted. To protect a person subject to or affected by a

subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secret or other confidential research, development,
or commercial information; or

(ii) disclosing an unretained expert's opinion or information that does
not describe specific occurrences in dispute and results from the expert's
study that was not requested by a party.

(C) Specifving Conditions as an Alternative. In the circumstances
described in Rule 45(d)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party:

(i) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and
(ii) ensures that the subpoenaed person will be reasonably compensated.

(e) Duties in Responding to a Subpoena.

(1) Producing Documents or Electronically Stored Information. These
procedures apply to producing documents or electronically stored
information:

(A) Documents. A person responding to a subpoena to produce documents
must produce them as they are kept in the ordinary course of business or
must organize and label them to correspond to the categories in the demand.

(B) Form for Producing Electronically Stored Information Not Specified.
If a subpoena does not specify a form for producing electronically stored
information, the person responding must produce it in a form or forms in
which it is ordinarily maintained or in a reasonably usable form or forms.

(C) Electronically Stored Information Produced in Only One Form. The
person responding need not produce the same electronically stored
information in more than one form,

(D) Inaecessible Electronically Stored Information, The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. If that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule
26(b)(2)(C). The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) Information Withheld. A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation
material must:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim.

(B) Information Produced. If information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it. After being
notified, a party must promptly return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may promptly
present the information under seal to the court for the district where
compliance is required for a determination of the claim. The person who
produced the information must preserve the information until the claim is
resolved.

(g) Contempt.

The court for the district where compliance is required—and also, after a
motion is transferred, the issuing court—may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it.

 

For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).

 
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND
(Northern Division)

DAVID J. BOSHEA *
Plaintiff, *
7 Case No. 1:21-CV-00309-ELH
Vv. *
*
COMPASS MARKETING, INC. *
*
Defendant.
*
* * * * * * * * * * * * *
SCHEDULE A

(ATTACHED TO SUBPOENA TO DANIEL J. WHITE)

Pursuant to Rule 45 of the Federal Rules of Civil Procedure (the “Federal Rules”),
Defendant Compass Marketing, Inc. (“Compass Marketing”), requests that Daniel J. White,
produce documents responsive to the following requests.

A. In producing documents requested, you are requested to furnish all documents in
your possession, custody, or control, including both documents possessed directly by you and
documents possessed by your agents, employees, representatives, investigators, and attorneys or
their agents, employees, representatives, or investigators.

B. These requests for production of documents shall be deemed continuing in nature.
If you at any time subsequent to the production of documents in response hereto, and prior to the
rendering of judgment in this action, obtain additional documents responsive to these requests, you
shall promptly provide such documents for inspection and copying in accordance with the Federal
Rules.

Cc. These requests for production of documents seek production of every version of the

documents requested, including, but not limited to, copies of the documents with marginalia,
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additional attachments, additional printed or typed notes, indications or carbon copies, blind
carbon copies or distribution lists, and drafts and revisions of the documents. Each and every
document requested should be produced in its entirely, without abbreviation or expurgation and
including all attachments or other matters affixed thereto.

D. If any of the requested documents cannot be produced in full, produce them to the
extent possible, specifying the reasons for your inability to produce the remainder and stating
whatever information, knowledge, or belief you have concerning the unproduced portion.

E. If any request is objected to as being unduly burdensome, produce all documents
available without unreasonable burden and, for those you claim to be unduly burdensome, identify
the number and nature of documents needed to be searched, the location of the documents, and the
number of person hours and other costs required to conduct the search.

F, If any responsive documents requested no longer exist or have otherwise been
destroyed or discarded, identify each such document by stating:

a. The nature of the document;
b. The author(s) and their address(es);
c. The date(s) of the document;

d. Any indicated (i.e., cc) or blind copies;

i The document’s subject matter, number of pages, and attachments or
appendices:

f. All persons to whom the document was distributed;

g. The date of destruction or the date it was discarded; and

h. The persons authorizing or carrying out the destruction or discard.
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G. The term “document” includes by way of illustration and not limitation, the
following, whether written, printed, reproduced by any process, including recordings, or produced
by hand, and whether or not claimed to be privileged or otherwise excludable from discovery:
tapes; notes; analyses; computer printouts; information maintained on computer disks, flash drives,
or hard drives (including metadata); correspondence; communications of any nature; electronic
mail (“email”); text messages; websites and Internet history; telegrams; letters; memoranda;
notebooks of any character; summaries or records of personal conversations; diaries; routing slips
or memoranda; reports; publications; photographs; minutes or records or tapes of meetings;
transcripts of oral testimony or statements; reports and/or summaries of interviews; reports and/or
summaries of investigations; agreements and contracts, including all modifications or revisions
thereof; reports and/or summaries of negotiations; court papers; brochures; drafts, revisions of
drafts; tape recordings; records and dictation belts. Any document with any marginalia, including
marks on any sheet or side thereof, such as initials, stamped indicia, comments, or notations of any
character not part of the original text, or any reproduction thereof, is not to be considered a separate
document for purposes of this subpoena.

H. As used herein:

a: The phrase “refer, reflect, or relate to” or any similar combination of these
words is intended to have the broadest possible meaning, and includes any

logical or factual connection with the matters discussed.

b. The term “or” means “and/or.”
C. Any word written in the singular shall include the plural and vice versa.
d. The term “any” means “each, any, and all.”
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é: When appropriate, the use of the masculine also includes the feminine, and
vice versa.
I. The term “Compass Marketing” shall mean Compass Marketing, Inc., the

Defendant in the above-captioned litigation, and all of its affiliates, directors, employees, agents,
successors, and assigns.

J. The term “David Boshea” shall refer to David J. Boshea, the Plaintiff in the above-
captioned litigation, and all of his affiliates, employees, and agents.

K. If you object to fully producing a document or communication because of a
privilege, you must provide the following information, unless divulging the information would

disclose the privileged information:

a. the nature of the privilege asserted (including work product);
b. the date of the document or communication;
é if a document, its type (e.g., letter, memorandum, facsimile, email), author,

addressee(s), custodian, location, all recipients, and such other information
sufficient to identify the document for a subpoena duces tecum or a
document request, including, if not apparent, the relationship between the
author and the addressee; and

d. the general subject matter of the document or communication.

Documents to be Produced

1. All documents that refer, reflect, or relate to communications with David Boshea.
2. All documents that refer, reflect, or relate to David Boshea’s employment with
Compass Marketing.
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3. All documents that refer, reflect, or relate to David Boshea’s compensation from
Compass Marketing.

4, All documents that refer, reflect, or relate to David Boshea’s termination from
employment with Compass Marketing.

5. All documents that refer, reflect, or relate to any agreement between David Boshea
and Compass Marketing.

6. All documents that refer, reflect, or relate to the above-captioned litigation.

7. All documents sent to or received from any individual or entity that refer, reflect,
or relate to David Boshea.

8. All documents sent to or received from any individual or entity that refer, reflect,
or relate to the above-captioned litigation.

9. All documents sent to or received from Compass Marketing’s resident agent since
November 1, 2018.

10. All documents that refer, reflect, or relate to Business Filings International Inc.,
since November |, 2018.

11. All documents sent to or received from Business Filings International Inc., since

November 1, 2018.
